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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


WENDY DAVIS, DAVID GINS, and       §
TIMOTHY HOLLOWAY,                  §
                                   §
           Plaintiffs,             §
                                   §
v.                                 §                                   1:21-CV-565-RP
                                   §
ELIAZAR CISNEROS, RANDI CEH, STEVE §
CEH, JOEYLYNN MESAROS, ROBERT      §
MESAROS, and DOLORES PARK,         §
                                   §
           Defendants.             §

                                              ORDER

       A jury trial was held in this matter from September 9, 2024, through September 23, 2024.

On September 23, 2024, the jury in this case returned a verdict finding that Defendant Eliazar

Cisneros (“Cisneros”) engaged in a conspiracy in violation of 42 U.S.C. § 1985(3). The jury awarded

Plaintiff Timothy Holloway $10,000 in compensatory damages and assessed $30,000 in punitive

damages against Cisneros. The jury also found that no other defendant was liable under 42 U.S.C. §

1985(3) or Texas state law. (Dkt. 557). After the jury verdict was received, counsel for Cisneros

orally moved for judgment notwithstanding the verdict. The Court stated that it would take the

motion under advisement.

       Accordingly, IT IS ORDERED that Cisneros shall file a written motion and brief in

support on or before October 6, 2024.




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       IT IS FURTHER ORDERED that Plaintiffs shall file a response to Cisneros’s motion on

or before October 17, 2024.

       SIGNED on September 25, 2024.


                                                ________________________________
                                                ROBERT PITMAN
                                                UNITED STATES DISTRICT JUDGE




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